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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 11-20427-JORDAN


   DISNEY ENTERPRISES, INC.,
   TWENTIETH CENTURY FOX FILM CORPORATION,
   UNIVERSAL CITY STUDIOS PRODUCTIONS LLLP,
   COLUMBIA PICTURES INDUSTRIES, INC., and
   WARNER BROS. ENTERTAINMENT INC.,

   Plaintiffs,

   v.

   HOTFILE CORP., ANTON TITOV, and
   DOES 1-10.

    Defendants.
                                                      /

                              JOINT PROPOSED SCHEDULING ORDER

           The parties having submitted their Fed. R. Civ. P. 26(f) and Local Rule 16.1 Report, it is

   hereby Ordered that:

           1.     This case is assigned to the Standard Track.

           2.     All motions to join additional parties or amend the pleadings shall be filed no later

   than the following date:

                  [August 1, 2011 (Plaintiffs’ proposal)]

                  [June 15, 2011 (Defendants’ proposal)].

           3.     The parties will exchange privilege logs no later than June 15, 2011.

           4.     The parties will make expert disclosures under Fed. R. Civ. 26(a)(2) and Local

   Rule 16.1(k) by September 9, 2011.

           5.     The parties will exchange rebuttal expert reports by the following date:

                  [September 23, 2011 (Plaintiffs’ proposal)]
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                  [November 11, 2011 (Defendants’ proposal)]

          6.      The parties shall complete discovery by the following date:

                  [October 17, 2011 (Plaintiffs’ proposal)]

                  [January 16, 2012 (Defendants’ proposal)]

          7.      Each party may bring a motion for summary judgment on any grounds by the

   following date:

                  [November 30, 2011 (Plaintiffs’ proposal)]

                  [January 30, 2012 (Defendants’ proposal)]

          8.      [Plaintiffs’ proposal: Summary judgment motions on liability may be filed and

   resolved based on a sample of works that Plaintiffs allege to have been infringed. Discovery

   regarding additional works that Plaintiffs allege to have been infringed is deferred until the Court

   has ruled on summary judgment on liability. The parties will meet and confer within 5 days of

   the Court’s decision to determine whether any additional discovery related to the remaining

   works alleged to be infringed is necessary prior to trial, and jointly propose a timeline and

   process for completing such discovery limited to that single topic.]

          9.      [Defendants’ proposal: Each party may bring a motion for summary judgment

   regarding application of the DMCA “safe harbor” by June 15, 2011.               Discovery will be

   conducted as necessary, limited to the issues raised by those motion(s), pending further order of

   the Court. In the event that this motion practice does not completely resolve the case, each party

   may bring a motion for summary judgment on any remaining grounds by January 30, 2012.]

          10.     All pretrial motions shall be filed no later than ___________________________.

          11.     All pretrial motions shall by resolved by the Court no later than

   ________________________________..




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         12.   A pretrial conference shall be held on _________________________.

         13.   Trial shall commence on _______________________.

         DONE and ORDERED in Chambers, in Miami, Florida, this ______ day of

   ___________________, 2011.


                                          _____________________________________
                                          Hon. Adalberto Jordan
                                          United States District Court Judge




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